                                    Exhibit A: Exhibits Motorola is Moving Be Sealed (Highlighting Exhibits Previously Sealed)

      Trial Description                                                          BegDoc#                           EndDoc#
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21
        13   12/01/2011 Motorola and Vtech Patent License Agreement (CX-         MOTM_WASH1823_0394368             MOTM_WASH1823_0394401
             782C; Inv. No. 337-TA-752)
        36   9/13/2004 Patent Cross License Agreement; Attachment B to           MOTM_WASH1823_0398576             MOTM_WASH1823_0398597
             Settlement Agreement Between Proxim and Symbol (CX-777C;
             ITC Inv. No. 337-TA-752)
        37   2/24/2006 Patent License Agreement; Attachment B to Settlement MOTM_WASH1823_0398540                  MOTM_WASH1823_0398558
             Agreement Between Terabeam and Symbol (CX-775C; ITC Inv.
             No. 337-TA-752)
        38   6/09/2004 Settlement Agreement between Hand Held Products and MOTM_WASH1823_0398559                   MOTM_WASH1823_0398575
             Symbol (CX-776C 337-TA-752)
        84   Marvell "88W8786U Intergrated MAC/Baseband/RF SoC IEEE              MRVL000619                        MRVL000760
             802.11g/b and 802.11n Datasheet" 10/08/2009
       524 Marvell "88W8786U Integrated MAC/Baseband/RF SoC IEEE                 MS-MOTO_1823_00000189652          MS-MOTO_1823_00000189773
             802.11 g/b and draft-802.11n Datasheet" 3/13/2009
      2454 Motorola Mobility 802.11-Compliant Worldwide Revenue
             Summary (Exhibit 5 to the Expert Report of Michael J. Dansky,
             dated 7/24/12)
      2455 Motorola Mobility 802.11-Compliant Worldwide Units (Exhibit 5.1
             to the Expert Report of Michael J. Dansky, dated 7/24/12)
      2456 Motorola Mobility Worldwide 802.11-Compliant P&L (Exhibit 5.2
             to the Expert Report of Michael J. Dansky, dated 7/24/12)
      2457 Motorola Mobility Worldwide Future Discounted Revenue, 802.11-
             Compliant Phones (Exhibit 5.3.1 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2458 Motorola Mobility Worldwide Future Discounted Revenue, 802.11-
             Compliant Tablets (Exhibit 5.3.2 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2459 Motorola Mobility Future Worldwide Discounted Revenue, 802.11-
             Compliant Wireless Solutions (Exhibit 5.3.3 to the Expert Report of
             Michael J. Dansky, dated 7/24/12)
      2460 Motorola Solutions 802.11-Compliant Worldwide Revenue
             Summary (Exhibit 6.0 to the Expert Report of Michael J. Dansky,
             dated 7/24/12)
      2461 Motorola Solutions 802.11-Compliant Worldwide Units (Exhibit
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             6.1 to the Expert Report of Michael J. Dansky, dated 7/24/12)




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      Trial Description                                                      BegDoc#                                 EndDoc#
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22
      2462 Motorola Solutions Worldwide 802.11-Compliant P&L (Exhibit
             6.2 to the Expert Report of Michael J. Dansky, dated 7/24/12)

      2463   Motorola Solutions 802.11-Compliant Worldwide Future
             Discounted Revenue (Exhibit 6.3 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2469   Motorola Mobility H.264-Compliant Worldwide Revenue
             Summary (Exhibit 8.0 to the Expert Report of Michael J. Dansky,
             dated 7/24/12)
      2470   Motorola Mobility H.264-Compliant Baseline Only Worldwide
             Revenue Summary (Exhibit 8.0.1 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2471   Motorola Mobility H.264 Main and High Profile Compliant
             Worldwide Revenue Summary (Exhibit 8.0.2 to the Expert Report
             of Michael J. Dansky, dated 7/24/12)
      2472   Motorola Mobility Worldwide H.264-Compliant Units (Exhibit 8.1
             to the Expert Report of Michael J. Dansky, dated 7/24/12)
      2473   Motorola Mobility H.264-Compliant Profitability (Exhibit 8.2 to
             the Expert Report of Michael J. Dansky, dated 7/24/12)
      2474   Motorola Mobility Future Worldwide Discounted Revenue, H.264-
             Compliant Phones (Exhibit 8.3.1 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2475   Motorola Mobility Future Worldwide Discounted Revenue, H.264-
             Compliant Tablets (Exhibit 8.3.2 to the Expert Report of Michael J.
             Dansky, dated 7/24/12)
      2476   Motorola Mobility Future Worldwide Discounted Revenue, H.264-
             Compliant Set Top Boxes (Exhibit 8.3.3 to the Expert Report of
             Michael J. Dansky, dated 7/24/12)
      2756   Licensing Opportunity: 802.11b/WLAN Aps                             MOTM_WASH1823_0420670               MOTM_WASH1823_0420683
      2769   Memorandum of Understanding - Patent Cross-License Agreement MOTM_WASH1823_0025833                      MOTM_WASH1823_0025954
             between Samsung and Motorola
      2798   Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0025091               MOTM_WASH1823_0025144
             Motorola and Nokia Corp.
      2800   Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0025598               MOTM_WASH1823_0025667
                                                                                                                                             Case 2:10-cv-01823-JLR Document 495-1 Filed 10/29/12 Page 2 of 6




             Motorola and RIM
      2802   Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0023750               MOTM_WASH1823_0023800
             Motorola and Brightstar Corp.




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      Trial Description                                                        BegDoc#                              EndDoc#
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23
      2803 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0023868                MOTM_WASH1823_0023935
             Motorola and Chi Mei Comm's Systems
      2804 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0023801                MOTM_WASH1823_0023867
             Motorola and Casio Computer Company, Ltd.
      2805 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0025145                MOTM_WASH1823_0025230
             Motorola and Option NV
      2807 Patent Cross License Agreement between Motorola, Inc. and           MOTM_WASH1823_0024156                MOTM_WASH1823_0024196
             Eastman Kodak Co.
      2808 Release and Amendment between Motorola, Inc. and Ericsson           MOTM_WASH1823_0024213                MOTM_WASH1823_0024225

      2809   Agreement to Amend the 1990 Patent License Agreement between MOTM_WASH1823_0025476                     MOTM_WASH1823_0025488
             Motorola, Inc. and Qualcomm Inc.
      2810   Cellular Essential Properties Cross License Agreement between  MOTM_WASH1823_0024585                   MOTM_WASH1823_0024684
             Motorola and High Tech Computer Corp.
      2833   Patent Cross License Agreement between Motorola, Inc., and RIM MOTM_WASH1823_0025503                   MOTM_WASH1823_0025597

      2835   Amended and Restated Cellular Essential Properties Cross License MOTM_WASH1823_0024952                 MOTM_WASH1823_0025013
             Agreement between Motorola and Nokia Corp.
      2836   Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0023674                 MOTM_WASH1823_0023749
             Motorola, and BenQ Corp.
      2837   Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0023636                 MOTM_WASH1823_0023673
             Motorola, Inc. and Benefon OYJ
      2841   Agreement between IBM Corp. and Motorola Mobility Holdings, MOTM_WASH1823_00411600                     MOTM_WASH1823_00411619
             Inc.
      2842   Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0024746                 MOTM_WASH1823_0024825
             Motorola and LG Elecs. Inc.
      2843   Patent Cross License Agreement between Motorola and NEC Corp. MOTM_WASH1823_0025014                    MOTM_WASH1823_0025090

      2844   Ex. 7 - Philips-Motorola Mobility 2006 Patent License Agreement   MOTM_WASH1823_0025382                MOTM_WASH1823_0025393

      2845   Global Patent License Agreement between Ericsson and Motorola, MOTM_WASH1823_0024197                   MOTM_WASH1823_0024212
             Inc.
      2846   Ex. 6 - Philips-Motorola 2006 Patent License Agreement           MOTM_WASH1823_0025394                 MOTM_WASH1823_0025396
             Amendment
                                                                                                                                             Case 2:10-cv-01823-JLR Document 495-1 Filed 10/29/12 Page 3 of 6




      2847   Patent License Agreement between Motorola , Inc. and Koninklijke MOTM_WASH1823_0025397                 MOTM_WASH1823_0025408
             Philips Elecs. N.V.
      2860   Direct Testimony of Kirk Dailey, ITC Inv. No. 337-TA-752         MOTM_WASH1823_0398478                 MOTM_WASH1823_0398502




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      Trial Description                                                     BegDoc#                              EndDoc#
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      2865 802.11 Patent License Agreement between Fujitsu Limited and Via VL000075                              VL000100
             Licensing Corp.
      2866 802.11 Patent License Agreement between Japan Radio Co., Ltd.    VL000150                             VL000175
             and Via Licensing Corp.
      2867 802.11 Patent License Agreement between Koninklijke Philips      VL000176                             VL000201
             Elecs. N.V. and Via Licensing Corp.
      2868 802.11 Patent License Agreement between LG Elecs., Inc. and Via VL000202                              VL000227
             Licensing Corp.
      2869 802.11 Patent License Agreement between Sony Corp. and Via       VL000228                             VL000253
             Licensing Corp.
      2897 Selected pages from the transcript of the deposition of Louis P.
             Berneman, ED D, CLP, taken in, In the Matter of Certain Mobile
             Devices, Associated Software, and Components Thereof, ITC Inv.
             No. 337-TA-744
      2900 Rebuttal Testimony of Kirk Dailey, marked as Hearing Exhibit CX- MOTM_WASH1823_0398598                MOTM_WASH1823_0398625
             778C and admitted into evidence in Certain Gaming and
             Entertainment Consoles, Related Software, and Components
             Thereof, Inv. No. 337-TA-752 (U.S.I.T.C.)
      2924 Expert Report of Louis P. Berneman, Ed D, CLP,” submitted in
             Certain Mobile Devices, Associated Software, and Components
             Thereof, ITC Inv. No. 337-TA-744
      3162 Presentation: Motorola Mobility - HTC Meeting IP License         MOTM_WASH1823_0054329                MOTM_WASH1823_0054336
             Discussions (February 2, 2011)
      3163 Presentation: MMI - Samsung Meeting (March 23, 2011)             MOTM_WASH1823_0054337                MOTM_WASH1823_0054351
      3164 Motorola Licensing Presentation to Apple                         MOTM_WASH1823_0018625                MOTM_WASH1823_0018627
      3169 Ml_mw_revenue_ww_update_07202012.xls                             MOTS_1823_0151471                    MOTS_1823_0151471
      3211 Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_00223472               MOTM_WASH1823_00223553
             Agilent Technologies, Inc. and Motorola, Inc.
      3212 Patent Cross License and Settlement Agreement between Aruba      MOTM_WASH1823_0023450                MOTM_WASH1823_0023471
             Networks, Inc. and Motorola, Inc.
      3213 Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0023936                MOTM_WASH1823_0024020
             Compal Communications, Inc. and Motorola, Inc.
      3214 Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0024021                MOTM_WASH1823_0024083
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             Curitel Communications, Inc. and Motorola, Inc.
      3215 Cellular Essential Properties Cross License Agreement between    MOTM_WASH1823_0024084                MOTM_WASH1823_0024144
             Motorola, Inc. and Dai Telecom S.p.A
      3216 Cellular License Agreement between Denso Corp. and Motorola,     MOTM_WASH1823_0024145                MOTM_WASH1823_0024155
             Inc.


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      Trial Description                                                        BegDoc#                              EndDoc#
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      3217 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0024226                MOTM_WASH1823_0024265
             Motorola, Inc. and Firefly Mobile, Inc.
      3218 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0024266                MOTM_WASH1823_0024326
             Motorola, Inc. and Giant Electronics Limited
      3219 Agreement between Harris Corp. and Motorola, Inc.                   MOTM_WASH1823_0024327                MOTM_WASH1823_0024338
      3220 Cellular Essential Properties Cross License Agreement - Subscriber, MOTM_WASH1823_0024422                MOTM_WASH1823_0024504
             between Motorola, Inc. and Hitachi, Ltd.
      3221 Cellular Essential Properties Cross License Agreement -             MOTM_WASH1823_0024339                MOTM_WASH1823_00243421
             Infrastructure, between Motorola, Inc. and Hitachi, Ltd.
      3222 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0024505                MOTM_WASH1823_0024584
             Motorola, Inc. and Hop-On Wireless, Inc.
      3223 USDC Essential Property Cross License Agreement between             MOTM_WASH1823_0024685                MOTM_WASH1823_0024695
             Motorola, Inc. and IFR Systems Inc.
      3224 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0024696                MOTM_WASH1823_0024745
             Motorola, Inc. and Kyocera Corp.
      3225 Cellular Essential Properties Cross License Agreement between       MOTM_WASH1823_0024826                MOTM_WASH1823_0024893
             Motorola, Inc. and LG Electronics Inc.
      3226 Letter from Motorola , Inc. to Matsushita Electric Industrial Co.,  MOTM_WASH1823_0024894                MOTM_WASH1823_00249923
             Ltd. re: GSM Essential Properties Cross License Agreement

      3227   Settlement and Patent Cross License Agreement between           MOTM_WASH1823_0023430                  MOTM_WASH1823_0023449
             Metrologic Instruments, Inc. and Motorola, Inc.
      3228   3G Properties Cross License Agreement between Motorola, Inc.    MOTM_WASH1823_0025231                  MOTM_WASH1823_00252394
             and Panasonic Mobile Communications Co., Ltd.
      3229   Cellular Essential Properties Cross License Agreement between   MOTM_WASH1823_0025295                  MOTM_WASH1823_0025381
             Motorola, Inc. and Pantech Co., Ltd.
      3230   Amendment to DS-CDMA Technology Agreement between               MOTM_WASH1823_0025409                  MOTM_WASH1823_0025412
             Motorola, Inc. and QUALCOMM Inc.
      3231   Agreement to Amend the Patent License Agreement and             MOTM_WASH1823_0025413                  MOTM_WASH1823_0025430
             Technology License Agreement and Software License Agreement
             between Motorola, Inc. and QUALCOMM Inc.
      3232   DS-CDMA Technology Agreement between QUALCOMM Inc.              MOTM_WASH1823_0025431                  MOTM_WASH1823_0025467
             and Motorola, Inc.
      3233   Patent License Agreement between Motorola, Inc. and             MOTM_WASH1823_0025489                  MOTM_WASH1823_0025502
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             QUALCOMM Inc.
      3234   Draft - Agreement to Amend the Patent License Agreement         MOTM_WASH1823_0025468                  MOTM_WASH1823_0025475
             between Motorola, Inc. and QUALCOMM Inc.




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      Trial Description                                                      BegDoc#                                EndDoc#
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      3236 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0025713                  MOTM_WASH1823_0025768
             Motorola, Inc. and SAGEM SA
      3237 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0025694                  MOTM_WASH1823_0025712
             Motorola, Inc. and SAGEM Wireless
      3238 Cellular Cross License Agreement between Motorola, Inc. and       MOTM_WASH1823_0025769                  MOTM_WASH1823_0025832
             Samsung Electronics Co., Ltd.
      3239 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0025955                  MOTM_WASH1823_0026017
             Motorola, Inc. and Sanyo Electric Co., Ltd.
      3240 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026023                  MOTM_WASH1823_0026092
             Motorola, Inc. and Sharp Corp.
      3241 Exhibit 8 - Sharp-Motorola 2003 Cellular Essentials Properties    MOTM_WASH1823_0026018                  MOTM_WASH1823_0026022
             Cross License Agreement Amendment between Motorola, Inc. and
             Sharp Corp.
      3242 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026093                  MOTM_WASH1823_0026145
             Motorola, Inc. and Shintom Co., Ltd.
      3243 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026168                  MOTM_WASH1823_0026248
             Motorola, Inc. and Sierra Wireless, Inc.
      3244 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026387                  MOTM_WASH1823_0026451
             Motorola, Inc. and T&A Mobile Phones Limited
      3245 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026452                  MOTM_WASH1823_0026518
             Motorola, Inc. and Telian Corp.
      3246 Settlement Agreement between Motorola, Inc. and Telit Italia      MOTM_WASH1823_0026519                  MOTM_WASH1823_0026523
             S.p.A.
      3247 Cellular Essential Properties Cross License Agreement between     MOTM_WASH1823_0026524                  MOTM_WASH1823_0026595
             Motorola, Inc. and Toshiba Corp.
      3265 Agreement between Intermec IP Corp. and Symbol Technologies,      MOTM_WASH1823_0026296                  MOTM_WASH1823_0026345
             Inc.
      3333 Summary Exhibit: Dansky Financial Tables
      3334 Summary Exhibit: Motorola Licensing Agreements
      3335 Summary Exhibit: Correspondence Between Motorola and
             Microsoft Regarding Standard Essential Patent Licensing
      3343 Atheros Data Sheet, AR9280 Single-Chip 2x2 MIMO                   MS-MOTO_1823_00000673948               MS-MOTO_1823_00000674101
             MAC/BB/Radio with PCI Express Interface for 802.11n 2.4 and 5
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